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    7

    8                               UNITED STATES DISTRICT COURT

    9                              CENTRAL DISTRICT OF CALIFORNIA

   10

   11 FEDERAL TRADE COMMISSION,                        Case No. 8:20-cv-01431-PSG-KES
   12
                     Plaintiff,                        DECLARATION OF
   13 v.                                               JACQUELINE NGUYEN
   14
        QYK BRANDS LLC d/b/a Glowyy; et al,
   15
                     Defendants
   16

   17

   18

   19      I, JACQUELINE NGUYEN, DO HEREBY DECLARE AND STATE AS
   20 FOLLOWS:

   21
            1. I have personal knowledge of the following facts, and, if called upon, would
   22

   23          testify to them.
   24       2. I am the Owner of Dr. J’s Natural, LLC (“Dr. J’s”) and have operated the
   25
               company during all relevant times in the lawsuit. As CEO, I ran the day-to-
   26

   27          day operations of Dr. J’s and am familiar with the events, hurdles and
   28
                                                 -1-
                                   DECLARATION OF JACQUELINE NGUYEN
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    1         challenges that occurred from March through May, 2020, when the Covid-19
    2
              pandemic suddenly hit the world. I am also aware of its business thereafter.
    3

    4      3. I hold a Doctor of Pharmacology degree and trained as a clinical

    5         compounding pharmacist.
    6
           4. Dr. J’s Natural was actually incorporated in 2019, but the company has been
    7

    8         doing business since 2011. It previously did business under the name

    9         Carefree Senior Living.
   10
           5. Dr. J’s formulates and distributes nutraceutical products as well as skin care
   11

   12         and personal care products.

   13      6. Dr. J’s moved to 10517 Garden Grove Blvd., Garden Grove, CA in
   14
              approximately November 2019 and by February 2020, we had between 2-3
   15

   16         employees.

   17      7. Dr. J’s started selling hand sanitizer on March 10, 2020 under its own brand
   18
              name (Dr. J’s Naturals) by placing the product on our website. To my
   19

   20         knowledge, there were no shipping claims or timelines on the Dr. J’s
   21         website. Indeed, I was careful in what I stated on the Dr. J’s website
   22
              regarding shipping time. For example, on April 11, 2020 the website stated,
   23

   24         “hand sanitizer products are expected to ship after April 26.” A copy of this
   25         screen shot from my website is attached as Ex: A.
   26
           8. At the time that Dr. J’s began selling hand sanitizer (March 10), I posted a
   27

   28         special promotion for my followers which was about 54 people. The
                                                -2-
                               DECLARATION OF JACQUELINE NGUYEN
Case 8:20-cv-01431-PSG-KES Document 200 Filed 03/18/22 Page 3 of 24 Page ID #:7832



    1         promotion stated that if they ordered on that day (March 10), then we would
    2
              ship on that day. I did not receive any orders from my followers on that day
    3

    4         that I can recall. This was a one day special that my followers did not take

    5         me up on.
    6
           9. In mid- March, Dr. Js placed a Facebook Ad which is different than a post (a
    7

    8         post is only directed to followers). Unlike a post, a Facebook Ad is generally

    9         disseminated by Facebook. This Ad did not contain any shipping claims.
   10
              This Ad can be found as Page 267 of the FTC’s PX2 , Attachment AD. As
   11

   12         can be seen no shipping claim is made, and this would be true of all

   13         Facebook ads.
   14
           10. Dr. J’s did not market the hand sanitizer in any other manner other than a
   15

   16         Twitter post which, like the Facebook post, was directed only to a limited

   17         number of followers.
   18
           11. To my knowledge, all Dr.J’s hand sanitizer products were timely shipped.
   19

   20         There may have been a few exceptions, as things were chaotic during these
   21         times, but our customer service were able to resolve these exceptions.
   22
           12. Hand sanitizer was not a major product for Dr. J’s and Since August 2020,
   23

   24         Dr. J’s has made only about $75,000 in hand sanitizer sales to consumers via
   25         the internet.
   26
           13. Dr. J’s also offered a product called Basic Immune IGG whose active
   27

   28         ingredient was ImmunoLin®, a product produced by Entera health, Inc..
                                                -3-
                              DECLARATION OF JACQUELINE NGUYEN
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    1         According to Entera Heath’s clinical studies, Immunolin® increases the
    2
              body’s natural defense by providing high levels of an antibody called IgG.
    3

    4         As stated by EnteraHealth:

    5
            “ImmunoLin® is the next generation immune-protein providing concentrated
    6

    7       immunoglobulins to support the body’s natural immune defenses in the gut.

    8       …
    9
              For years, immunoglobulins have been used to help support the body against
   10

   11         infectious, idiopathic, and autoimmune diseases. ImmunoLin® is the next

   12         generation of functional protein that contains the highest level of IGG
   13
              available per gram as a dietary supplement ingredient.” A copy of the screen
   14

   15         charts from the Entera Health website with these representations is attached

   16         as Ex: B.
   17
           14.I am of Vietnamese descent and virtually my exclusive customer base has
   18

   19         always been the Vietnamese community. The Basic Immune IGG was
   20         marketed exclusively to the Vietnamese community through an interview
   21
              that I did on Vietnamese language TV.
   22

   23      15. The Basic IGG product did not sell well. After a few months we
   24         discontinued it and sold off our inventory at a loss.
   25
           16. I have reviewed my Vietnamese interview and the translation provided by
   26

   27         the FTC is incorrect. In its motion, the FTC claims that the interview
   28         contains the following passage:
                                                -4-
                               DECLARATION OF JACQUELINE NGUYEN
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    1         Interviewer: “And we should still wash our hands for two Happy Birthday
    2
              song’s time, and use this product for a month as well. Is it guaranteed that we
    3

    4         will stay safe [from Covid]? Guaranteed?”

    5         and that my response was
    6
              Nguyen: “It’s guaranteed, because there is FDA’s verification and approval.”
    7

    8         (See FTC Mot at 19/13-15)

    9      17. This is an incorrect translation and not what I said. First, I never used the
   10
              phrase [from Covid].” This was added by the FTC to create a false
   11

   12         impression of this passage. The proper translation of what I said is as

   13         follows:
   14

   15       Nam: (male host)

   16       We tried our best to avoid and wash your hands often via singing the “Happy
   17
            Birthday song” in addition, add on to take this bottle supplement for 1 month to
   18

   19       guarantee something? Does it guarantee for better health?
   20       Nguyen: This bottle supplement is guarantee to make in FDA facility and it has
   21
            all the certifications
   22

   23       Nam (male host): Pharmacist Thu Thảo just take the supplement in front of us
   24       so I believe it is a good product. I should buy for family and friends and gifting
   25
            to them to help them with bacteria and virus?
   26

   27      18. What I was conveying was that the product is safe to take as it is made by
   28         Entera Health which, to my knowledge, is a FDA certified facility as being
                                                 -5-
                               DECLARATION OF JACQUELINE NGUYEN
Case 8:20-cv-01431-PSG-KES Document 200 Filed 03/18/22 Page 6 of 24 Page ID #:7835



    1          safe. Indeed, Entera Health states the following regarding its ImmunoLin®
    2
               product:
    3

    4              The safety of ImmunoLin® is supported through clinical trial monitoring
    5
                   of studies spanning more than 20 years and submission of a generally
    6

    7              recognized as safe submission to the US Food and Drug Administration.

    8              (See Ex: C attached)
    9
            19. Dr. J’s previously sold cold pressed juice. I remember multiple cancer
   10

   11          patients coming to me to ask for this product. We, however, had to

   12          discontinue the product as we could not offer this fresh product along with
   13
               our other products when Covid changed the way products could be offered. I
   14

   15          never represented to any person that the cold pressed juices were intended to

   16          treat, cure or prevent cancer.
   17

   18      I declare under penalty of perjury under the laws of the United States of America

   19 that the foregoing is true and correct. Executed on this 18th day of March, 2022 at

   20
        Garden Grove, California.
   21

   22                                           _/s/ Jacqueline Nguyen_____________
                                                JACQUELINE NGUYEN
   23

   24

   25

   26

   27

   28
                                                   -6-
                                DECLARATION OF JACQUELINE NGUYEN
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                      EXHIBIT A
Case 8:20-cv-01431-PSG-KES Document 200 Filed 03/18/22 Page 8 of 24 Page ID #:7837
Case 8:20-cv-01431-PSG-KES Document 200 Filed 03/18/22 Page 9 of 24 Page ID #:7838




                      EXHIBIT B
            Case
3/18/22, 9:40 AM   8:20-cv-01431-PSG-KES Document      200 Support
                                         Non-Dairy Gut Health FiledSupplements
                                                                    03/18/22| Entera
                                                                                Page    10 of 24 Page ID
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                                                    #:7839

                                                                                              U       a




               Entera Health
               Your best life starts in your gut
               A healthy body starts with a healthy gut. Formulate the next
               generation of digestive health and Immune support
               supplements with ImmunoLin®.




               Support Digestive Function with
               ImmunoLin®

               For years, immunoglobulins have been used to help support the body against infectious,
               idiopathic, and autoimmune diseases. ImmunoLin® is the next generation of functional
               protein that contains the highest level of IgG available per gram as a dietary supplement


https://www.enterahealth.com                                                                               1/9
            Case
3/18/22, 9:40 AM  8:20-cv-01431-PSG-KES Document              200 Support
                                                Non-Dairy Gut Health FiledSupplements
                                                                           03/18/22| Entera
                                                                                       Page    11 of 24 Page ID
                                                                                            Health
                                                           #:7840
               ingredient. To support a healthy GI system ImmunoLin® contains over 60%
                                                                                          U
               Immunoglobulins and other important serum-proteins clinically proven to support         a
               digestive health. ImmunoLin® is a serum-derived bovine immunoglobulin/protein isolate
               (SBI), the only non-dairy protein ingredient with concentrated levels of IgG, intended to
               support the body’s natural immune defenses.




                               Benefits of ImmunoLin®


                 Helps maintain healthy digestive
                                                                Increases uptake and utilization of
                            balance*
                                                                            nutrients*

https://www.enterahealth.com                                                                                      2/9
            Case
3/18/22, 9:40 AM   8:20-cv-01431-PSG-KES Document      200 Support
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                                                    #:7841

                                                                                                          U        a
                     Supports healthy GI barrier                            Naturally derived, allergen free
                             function*                                                  protein




                                Clean Label




                                                    Discover ImmunoLin®


                    *Disclaimer: ImmunoLin® is not intended to treat, cure, or prevent any disease or disorder. These

                                            statements have not been evaluated by the FDA.




                    Digestive Health and the Immune
                                System
                 The gastrointestinal system plays a much bigger role than you may think in overall health
                   and wellness. Not only does it work to break down food and liquids facilitating nutrient
                 absorption, the gut is also home to 70 – 80 % of your immune system.¹ ² Immune cells in
                the gut are constantly reacting and learning how to balance microbiota through tolerance
                                                     and antibody production.

                                                              References:

https://www.enterahealth.com                                                                                            3/9
            Case
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                                         Non-Dairy Gut Health FiledSupplements
                                                                    03/18/22| Entera
                                                                                Page    13 of 24 Page ID
                                                                                     Health
                                                    #:7842
                 1. Weiner HL. Oral tolerance, an active immunologic process mediated by multiple mechanisms. J Clin
                                                       Invest 2000; 106:935–7.                          U       a
                                2. Faria AM, Weiner HL. Oral tolerance. Immunol Rev 2005; 206:232–59.




                                Gastrointestinal Balance




https://www.enterahealth.com                                                                                           4/9
            Case
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                                            Non-Dairy Gut Health FiledSupplements
                                                                       03/18/22| Entera
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                                                                                        Health
                                                       #:7843
                             Supporting digestive function with research-backed ingredients like I
       D                                                                                      U       aE

                                                      •   •    •   •


                                               Explore Our Products




               Work with Entera
               Global consumer health and wellness companies focused on immune support and
               digestive health partner with us to provide consumers with effective new ingredients. Our
               non-dairy ingredients are unique to the market and have proven effective in a number of
               clinical studies. With proprietary cGMP manufacturing facilities in the U.S. and New
               Zealand, we are able to meet the demands of our distributors and manufacturers around
               the world. We work with our partners to drive innovation and develop healthy and effective
               dietary supplements.




                   Partner With Entera




               The Latest in Gut Health
https://www.enterahealth.com                                                                                  5/9
            Case
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                                                          #:7844
               Stay informed as new studies and findings are released and learn about any upcoming
               events and opportunities.
                                                                                                  U       a
                   News and Events




                               Get to Know Entera Health
                               Entera Health is dedicated to improving the quality of life through the research
                               and development of safe and effective serum protein ingredients. As the
                               developer of ImmunoLin®, a proprietary immunoglobulin ingredient we’re
                               focused on advancing digestive and immune health products.


                                 Learn More




                         Want to learn more about the
                        importance of digestive health
                         from experts in the industry?


https://www.enterahealth.com                                                                                      6/9
            Case
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               Download a complementary copy of the New book by David Foreman, RPh, ND, the Herbal
               Pharmacist, as our gift to your gut health. “Life Begins in the Gut”              U        a
               Over 2000 years ago, Hippocrates, a great physician considered one of the most
               outstanding figures in medicine, said, “All disease begins in the gut.”

               Now, 2000 years later modern medicine has proven him right. But, what if you flipped this
               statement to be “Life begins in the gut”? The “gut” and its health are not only critical for
               digestion but for life itself. Optimal nutrition begins and ends with healthy digestion.




                                        Download: Life Begins in the Gut




                      Reach Out to Learn More about
                             Entera Health

               First Name *




               Last Name




               Email Address




               Business *



               Phone Number


https://www.enterahealth.com                                                                                  7/9
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                                                    #:7846


               How Can We Help?
                                                                                                            U        a




               CAPTCHA




                                                                Submit




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                                                      TERMS OF SERVICE

                                                         PRIVACY POLICY




                Claims have not been reviewed by the Food and Drug Administration. These products are not intended

                 to diagnose, treat, cure, or prevent any disease or disorder. Not all statements may be applicable in all

                 geographies. Certain product labeling and associated claims may differ based on regional regulatory

                                                              requirements.




                                                                     


https://www.enterahealth.com                                                                                                 8/9
            Case
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https://www.enterahealth.com                                                                                      9/9
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                   EXHIBIT C
            Case
3/18/22, 9:42 AM   8:20-cv-01431-PSG-KES Document
                                           ImmunoLin®200     Filed
                                                      Digestive Health03/18/22        Page
                                                                       Protein | Entera Health 20 of 24 Page ID
                                                 #:7849
                                                                                                            U       a




                                                   ImmunoLin                           ®




               Future of Immuno-Protein
               ImmunoLin® is the next generation immuno-protein, providing concentrated immunoglobulins to
               support the body’s natural immune defenses in the gut. Made with specifically purified serum proteins,
               ImmunoLin® contains high concentrations of immunoglobulins and growth factors clinically proven to
               support immune health, digestive wellness, and sports nutrition.




https://www.enterahealth.com/products/immunolin/                                                                        1/5
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                                                                                                                                                                  U   a

                              What is ImmunoLin®?
                               Our serum-derived bovine immunoglobulin protein isolate helps support a
                               healthy digestive tract and immune system. Immunoglobulins work by
                               binding potentially toxic antigens within the digestive tract and prohibiting
                               them from crossing the gut barrier.³ ⁴ ⁵ These antigens are naturally present in
                               the intestinal tract and cause inflammation when exposed to the immune
                               system. ImmunoLin® is naturally free of dairy, saturated fats, cholesterol,
                               sugars, GMO’s, hormones, and antibiotics, making it the perfect choice for
                               your most health-conscious consumers.

                               References:

                               3. Peace RM, Campbell J, Polo J, Crenshaw J, Russell L, Moeser A. Spray-dried porcine plasma influences intestinal barrier

                               function, inflammation, and diarrhea in weaned pigs. J Nutr. 2011;141(7): 1312–1317.

                               4. Pérez-Bosque A, Amat C, Polo J, et al. Spray-dried animal plasma pre­vents the effects of Staphylococcus aureus enterotoxin B

                               on intestinal bar­rier function in weaned rats. The J Nutr. 2006;136(11): 2838–2843.




                                                            Download Product Specifications




                                                 Quality of ImmunoLin®
                                             ImmunoLin® is nature’s perfect protein, derived from high quality
                                                raw material. More than 35 years of research and development
                                               has gone into developing immunoglobulin ingredients that are
                                                      marketed today as ImmunoLin®. Each lot is produced in
                                                  accordance to cGMP standards. ImmunoLin is produced in a

https://www.enterahealth.com/products/immunolin/                                                                                                                          2/5
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                                          pharmaceutical grade facility and every step from collection to
                                          distribution is managed by Entera Health. This ingredient offersU               a
                                             high purity, potency, or proprietary production process of
                                                                    ImmunoLin®.




               ImmunoLin® in Sports Nutrition
               Boosting recovery speed and protecting muscle tissue are priorities for recreational and competitive
               athletes alike. It’s also widely understood that two of the most powerful stimulators of skeletal muscle
               synthesis are resistance exercise and protein intake. With serum-derived bovine immunoglobulin/protein
               isolate (SBI), athletes can support healthy muscle tissue recovery after strenuous training.



                   Learn More




https://www.enterahealth.com/products/immunolin/                                                                              3/5
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                                Safety of SBI and ImmunoLin®                                                   U          a

                 The safety of ImmunoLin® is supported through clinical trial monitoring of studies spanning
                   more than 20 years and submission of a generally recognized as safe submission to the US
                                                   Food and Drug Administration.




               FDA GRAS Designation

               On December 24, 2008, the US FDA issued a letter in response to GRAS notice No.255 for Bovine Globulin.
               FDA’s response reads, “Based on the information provided by Proliant [a sister company to Entera Health,
               Inc.], as well as other information available to FDA, the agency has no questions at this time regarding
               Proliant’s conclusion that bovine glob­ulin is GRAS under the intended conditions of use.



               Allergy Considerations

               ImmunoLin® is a protein ingredient purified from bovine serum that is naturally dairy-free, meaning no
               lactose, casein, or whey. It’s manufactured in accordance with Current Good Manufacturing Practice
               (cGMP). Because ImmunoLin® is a beef derivative, people with allergies to beef should not consume the
               product.




               Work with Entera Health
               Promote dietary digestive health support and help connect consumers with unique, effective ingredients
               by partnering with us today. Our proprietary closed-loop manufacturing facilities in the U.S. and New
               Zealand allow us to quickly meet the demands of our manufacturers and distributors. Entera Health owns
               every step from collection to distribution, providing our customers with high-quality products and supply
               chain management.


https://www.enterahealth.com/products/immunolin/                                                                              4/5
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                   Partner with Entera
                                                                                                                           U        a




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               cure, or prevent any disease or disorder. Not all statements may be applicable in all geographies. Certain product labeling

                                     and associated claims may differ based on regional regulatory requirements.




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